       Case 3:06-cv-01864-PCD Document 6 Filed 01/25/07 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

JEANMARIE CONLON

v.                                            CASE NO. 3:06CV 1864 (PCD)

WEST ASSET MANAGEMENT, INC.                          January 25, 2007


                                  NOTICE OF DISMISSAL

       Pursuant to Rule 41(a)(l), plaintiff hereby dismisses the within action without

costs or fees to any party.

                                             THE PLAINTIFF


                                             BY____/s/ Joanne S. Faulkner___
                                             JOANNE S. FAULKNER ct04137
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Certificate of Service

I hereby certify that on Jan. 25, 2007, a copy of foregoing was filed electronically. Notice
of this filing will be sent by e-mail to all parties by operation of the Court’
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filing system. Parties may access this filing through the Court’   s system.

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